          IN THE UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION
                             )
                             )
DONNA CURLING, ET AL.        )
                             )
               Plaintiffs,   )
                             ) Civil Action
         v.                  ) No. 1:17-cv-02989-AT
                             )
BRIAN KEMP, ET AL.           )
                             )
               Defendants.   )
                             )

 THIRD AMENDED COMPLAINT OF PLAINTIFFS COALITION FOR
  GOOD GOVERNANCE, LAURA DIGGES, WILLIAM DIGGES III,
          RICARDO DAVIS, AND MEGAN MISSETT
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      Plaintiffs Coalition for Good Governance (“Coalition”), Laura Digges,

William Digges, Ricardo Davis, and Megan Missett (the “Coalition Plaintiffs”),

for their Third Amended Complaint, allege as follows:

I.    INTRODUCTION
      1.     This Third Amended Complaint is being filed at a time when virtually

every American voter has come to understand that the nation’s election

infrastructure is susceptible to malicious manipulation from local and foreign

threats. Yet, Georgia’s election officials continue to defend the State’s electronic

voting system that is demonstrably unreliable and insecure, and have repeatedly

refused to take administrative, regulatory or legislative action to address the

election security failures.

      2.     This is a civil rights action for declaratory and injunctive relief

brought against Georgia elections officials who have adopted—and who require

Georgia voters to use, as a condition of being able to cast a ballot in their polling

places—the State’s direct recording electronic voting machines (“DREs”) as the

means of casting their ballot. Because Georgia’s DRE touchscreen voting

machines are insecure, lack a voter-verified paper audit capacity, fail to meet

minimum statutory requirements, and expose voters to being deprived of the ability

to cast a “secret ballot,” Ga. Const. Art. II, § 1, ¶ 1, requiring voters to use those



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machines violates the voters’ constitutional rights to have their votes recorded in a

fair, precise, verifiable, and anonymous manner, and to have their votes counted

and reported in an accurate, auditable, legal, and transparent process.

       3.     “The right to vote freely for the candidate of one’s choice is of the

essence of a democratic society, and any restrictions on that right strike at the heart

of representative government.” Reynolds v. Sims, 377 U.S. 533, 555 (1964). The

secret ballot—“the hard-won right to vote one’s conscience without fear of

retaliation”—is a cornerstone of this right to freely vote for one’s electoral choices.

McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 343 (1995).

       4.     The Coalition Plaintiffs challenge Georgia’s use of DREs in the May

2018 and November 2018 General Elections; in any Runoff or Special Elections

and in any of the numerous other elections, including special elections and runoffs

for vacancies, that will be conducted in Georgia during 2018 (collectively, the

“Relevant Upcoming Elections”).1 Without this Court’s intervention, the flawed

and legally deficient DRE voting units will be used to conduct these elections,

causing the true results of these elections to be uncertain. The continued use of

unreliable un-auditable voting machines has a deleterious impact on the


1
 See Georgia Secretary of State, 2018 Elections and Voter Registration Calendar,
http://sos.ga.gov/index.php/elections/2018_elections_and_voter_registration_calendar (last
visited Apr. 2, 2018).

                                               2
governance of the State and its jurisdictions, when voters have increasing reasons

to lose confidence in the stated election results. Since the action was initially filed

in Fulton County Superior Court on July 3, 2017, the State and its counties and

municipalities have continued to conduct scores of regularly scheduled and special

elections. For example, on November 7, 2017, WAGA reported on the results of

over 400 races in North Georgia alone.2 There have been at least 12 special state

legislative races and 5 runoffs since this case was filed. In addition to the May

primary election, a July special election and primary run-off election are scheduled

prior to the November general election.

       5.     The Coalition Plaintiffs seek to have the Relevant Upcoming

Elections conducted using verifiable paper ballots. The paper ballots may be

counted using Georgia’s currently owned and certified optical scanning system or,

alternatively, counted by hand. Both voting methods are feasible and authorized by

Georgia’s election statutes.

       6.     The relief requested is especially critical since Plaintiff Coalition and

its members have found the doors to Georgia’s ballot counting rooms locked,

leaving them unable to watch how Georgia’s elections are conducted, despite the


2
  See Fox 5 News, Results from more than 400 races across north Georgia,
http://www.fox5atlanta.com/news/georgia-heads-to-the-polls-tuesday-for-municipal-elections
(last visited Apr. 4, 2018).

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obligation of Georgia’s election officials under O.C.G.A. § 21–2–406 to “perform

their duties in public.”

      7.     By this Third Amended Complaint, the Coalition Plaintiffs seek to

remedy Georgia’s unreliable, insecure and unverifiable election methods. This

Third Amended Complaint is filed in an environment of alarming national news

concerning the vulnerability of our country’s election infrastructure. Georgia is

frequently reported in the media as being the most populous of only five (5) states

in the country that continue to utilize unverifiable electronic voting statewide.

Admonitions from authorities regarding the serious risks of paperless electronic

voting machines are escalating as the 2018 mid-term elections approach.

Meanwhile, those in Georgia with the political power to remedy the situation have

done nothing.

      8.     Locally, Atlanta residents recently have been reminded of the very

real disruption that cyber-attacks on government computer systems can create as

they are experiencing loss of some City of Atlanta services following a

ransomware attack on March 22, 2018. Atlanta city government is still reeling

from the attack at the time of this filing. There is no rational reason to believe that

the current voting system, run on outdated computers using outdated operating

systems, could defend against such an attack in the 2018 elections.


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       9.     On March 20, 2018, the United States Senate Select Committee on

Intelligence issued initial recommendations on election security, including a

“minimum” standard of a voter-verified paper trail.3 The recommendation to use

paper ballots with post-election audits echoed the nearly universal warnings of

voting system experts over the last fifteen years. National and local media reports

have repeatedly described officials’ concerns of immediate cybersecurity risk of

undetected system compromises. It is universally acknowledged that voting

machines, tabulation computers, voter registration records, and ballot provisioning

systems are exposed to cybersecurity threats in most jurisdictions at unacceptable

levels. Making the situation worse still, the use of an electronic voting system

without independent paper records of voter intent makes it all but impossible for

election officials to detect attacks when they have occurred. These factors render

our elections, particularly elections involving Georgia’s un-auditable voting

system, increasingly attractive targets for foreign adversaries. Meanwhile, Georgia




3
 The Select Committee determined that, “States should rapidly replace outdated and vulnerable
voting systems. At a minimum, any machine purchased going forward should have a voter-
verified paper trail and no WiFi capability.” U.S. Senate Select Committee on Intelligence,
Russian Targeting Of Election Infrastructure During The 2016 Election,
https://www.burr.senate.gov/imo/media/doc/One-
Pager%20Recs%20FINAL%20VERSION%203-20.pdf (last visited Apr. 1, 2018).



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has demonstrated a conscious disregard for these threats and a lack of interest in

solving the problem, impacting every voter in the State of Georgia.

      10.    Despite the constant drum-beat of warnings coming from the federal

government, technology experts, security experts, the media, and voters, Georgia’s

General Assembly closed its 2017–18 session on March 29, 2018, having

specifically debated the issue in the proposed Senate Bill 403 (“SB403”) but

without ultimately enacting that bill or any other palliative measure. Georgia’s

legislature thus has done nothing to improve an election infrastructure that is

widely recognized as one of the least secure in the country.

      11.    In August 2016, the State of Georgia experienced massive security

breaches exposing critical vulnerabilities in its centralized election computer

operations--weaknesses so pervasive as to expose every voting machine and

tabulating program in the State to the risk of undetectable malware. Yet Georgia’s

General Assembly declined to act on voting system and election security issues

during both the 2017 and the 2018 legislative sessions.

      12.    While SB403 acknowledged some of the problems afflicting

Georgia’s voting system, the proposed legislation failed to address what is required

to remedy the problem. Crucially, though its proponents called the bill a “paper

ballot” bill, SB403 did not require hand-marked auditable paper ballots. Instead,


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SB403 sought to authorize a new type of unverifiable electronic voting system

technology that, while favored by Defendant Secretary of State Brian Kemp and

the bill’s sponsors, was roundly criticized by experts as an insecure, dangerously

hackable, high-risk technology.

       13.    Strangely, while SB403’s provisions authorized limited post-election

audits, state legislative races would have been exempted from required audits

altogether. The General Assembly demonstrated its clear preference for continuing

use of unverifiable voting systems in its deliberations and ultimately failed to

address the imminent threats to the electoral process looming with the 2018 mid-

term elections.

       14.    On March 23, 2018, during the legislative session, the U.S. Election

Assistance Commission announced that, “Georgia would receive $10.3 million in

federal grants from the recently signed fiscal 2018 government spending bill,

combined with $515,000 in matching funds from the State” for the purpose

of “upgrad[ing] its voting machines and mak[ing] other security improvements

ahead of the upcoming elections.”4 Even with immediate funding available,



4
  Tamar Hallerman & Mark Niesse, Feds to give Georgia $10 million to upgrade outdated
voting machines, Atlanta Journal Constitution, 2018, https://www.myajc.com/news/state--
regional-govt--politics/feds-give-georgia-million-upgrade-outdated-voting-
machines/B8IbGwxNJxtPFloEXn4aIL/ (last visited Apr. 1, 2018).

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lawmakers chose to do nothing to improve the State’s election security. A simple

joint resolution requesting that the State Election Board use its authority to

dedicate a very small portion of such funding to further deploy the currently

authorized and state-owned paper ballot systems would have signaled lawmakers’

desire to implement a verifiable voting system, but the legislature decline to take

even that modest step.

      15.    Defendant State Election Board has known of the massive August

2016 security breaches and vulnerabilities of the election system for over a year,

and since this action was filed in July 2017, has known of the specific allegations

in this litigation concerning the failures of the election system. Despite having the

authority to require Georgia’s elections to be conducted using paper ballots

counted by optical scanners—widely considered the best practice by voting system

experts—and despite having the equipment and software licenses necessary to do

so, the State Board has taken no action to mandate the use of paper ballots to

protect Georgia’s elections. Instead, the State Board has maintained its Election

Rule 183–1–12–.01 mandating touchscreen voting machines for in-person voting.

      16.    As explained in this Complaint, and as will be demonstrated by the

Coalition Plaintiffs, the State possesses not only the authority, but the equipment,

software licenses and know-how to immediately transition to paper ballots. The


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required optical scan equipment is already used for current mail-in paper-ballot

processing. The security and reliability that would result from deploying the

currently available paper-ballot system far outweighs the administrative

inconvenience of converting to hand-marked paper ballots to be counted by

existing equipment.

      17.    The State of Georgia and its officials have the legal, moral, and ethical

obligation to secure the State’s electoral system. Sadly—and inexplicably—they

appear to lack the will to do so. When the political branches have failed to secure

fundamental rights in our country, it has traditionally been the Courts that stepped

in to do so. In a free society, no right is more precious or important than the right

to vote. When the exercise of that right is corrupted, the integrity of the

democratic process is corrupted, and the legitimacy of our government suffers as

the inevitable consequence. If the right to vote in this society is essential to the

integrity of democratic self-governance, then our election processes warrant the

most urgent judicial protection. Plaintiffs seek the intervention of this Court

because neither the State Board of Elections, the Secretary of State, nor the

Georgia General Assembly appear willing to act to protect voters’ rights to a

secure and accurately counted election process.




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II.   PARTIES

      A.     PLAINTIFFS

             1.     Plaintiff Coalition for Good Governance
      18.    Plaintiff COALITION FOR GOOD GOVERNANCE is a non-profit

corporation organized and existing under the laws of the State of Colorado.

      19.    Coalition is a membership organization, with a membership that

consists of individuals residing in Georgia and across the United States.

Individuals become members of Coalition by providing their contact information

and indicating a desire to associate with the organization. Members donate money,

contribute time, and share information and intelligence with the organization to the

extent they are able and wish to do so. Members receive informational

communications from Coalition and can benefit from Coalition’s facilitation of

members’ individual participation in civic activities that are germane to the

organization’s purpose, such as poll watching, auditing election results, and

publishing opinion pieces. Members utilize Coalition as a resource to answer a

wide range of questions about voting rights, voting processes, open meetings law,

public records law, recalls, petition processes, election legislation, and how to

challenge election issues they encounter.




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      20.    Coalition’s purpose is to preserve and advance the constitutional

liberties and individual rights of citizens, with an emphasis on preserving and

protecting those private rights of its members that are exercised through public

elections.

      21.    Coalition serves its purpose in multiple ways, including by providing

information and education to its members; by serving as a non-partisan educational

and informational resource for the public, press, campaigns, candidates, and

political parties; by monitoring nationwide developments in election law and

technology; by providing speakers for events at educational institutions; by

providing commentary from its leadership on election issues; by collaborating in

voting rights and election integrity initiatives with other nonpartisan nonprofits and

academics; by developing and sharing research and investigation of reported

election problems with the press, public and other members of the election-

integrity community; and by facilitating the engagement of members and

prospective members as non-partisan participants in the electoral process through

poll watching, attendance at public meetings, and other civic activities.

      22.    Coalition, acting on its own behalf, has organizational standing to

bring each of the claims for prospective relief stated herein.




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      23.    Coalition, acting on behalf of its members who are threatened with

imminent injury-in-fact, including the Member Plaintiffs identified below, also has

associational standing to bring the claims for prospective relief stated herein.

             2.     Plaintiff Individuals Who Are Members of Coalition
                    (the “Member Plaintiffs”)
      24.    Plaintiff LAURA DIGGES (“Ms. Digges”) was a Plaintiff when this

action was initially filed in Fulton County Superior Court on July 3, 2017. (ECF

No. 1-2.) Ms. Digges has been a member of Coalition since June 2017. Ms.

Digges is an elector of the State of Georgia and a resident of Cobb County. Ms.

Digges intends to vote in each of the Relevant Upcoming Elections in Cobb

County.


      25.    Plaintiff WILLIAM DIGGES III (“Mr. Digges”) was a Plaintiff when

this action was initially filed in Fulton County Superior Court on July 3, 2017.

(ECF No. 1-2.) Mr. Digges has been a member of Coalition since June 2017. Mr.

Digges is an elector of the State of Georgia and a resident of Cobb County. Mr.

Digges intends to vote in each of the Relevant Upcoming Elections in Cobb

County.


      26.    Plaintiff RICARDO DAVIS (“Davis”) was a Plaintiff when this

action was initially filed in Fulton County Superior Court on July 3, 2017. (ECF


                                          12
No. 1-2.) Davis has been a member of Coalition since May 2017. Davis is an

elector of the State of Georgia and a resident of Cherokee County. Davis intends

to vote in each of the Relevant Upcoming Elections in Cherokee County.

      27.    Plaintiff MEGAN MISSET (“Missett”) has been a member of

Coalition since March 2018. Missett is an elector of the State of Georgia and a

resident of Fulton County. Missett intends to vote in each of the Relevant

Upcoming Elections in Fulton County.

            3.     Former Plaintiff Individuals.

      28.   Former Plaintiff EDWARD CURTIS TERRY (“Terry”) was a

Plaintiff when the Second Amended Complaint in this action was filed on

September 15, 2017, (ECF No. 70, at 11–12, ¶ 31), Terry’s individual claims were

dismissed on March, 20, 2018, pursuant to Local Rule 41.3A(2) because Terry did

not comply with an Order directing him to apprise this Court of his mailing

address. (ECF No. 147.)

            4.     Plaintiff Individuals Who Are Not Now Members of
                   Coalition (the “Non-Member Plaintiffs”)

      29.   Plaintiff DONNA CURLING (“Curling”) was a Plaintiff and member

of Coalition when this action was initially filed in Fulton County Superior Court on

July 3, 2017. (ECF No. 1-2, at 6–7, ¶¶ 12, 13, 15.) Curling was a member of




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Coalition between May 2017 and December 2017. Curling’s claims are not

amended by this Third Amended Complaint.

      30.    Plaintiff DONNA PRICE (“Price”) was a Plaintiff and member of

Coalition when this action was initially filed in Fulton County Superior Court on

July 3, 2017. (ECF No. 1-2, at 7–8, ¶ 12, 15–16.) Price was a member of Coalition

between May 2017 and December 2017. Price’s claims are not amended by this

Third Amended Complaint.

      31.    Plaintiff JEFFREY SCHOENBERG (“Schoenberg”) was a Plaintiff

when this action was initially filed in Fulton County Superior Court on July 3,

2017. (ECF No. 1-2, at 7–9, ¶ 12, 15, 17.) Schoenberg’s claims are not amended by

this Third Amended Complaint.

      B.     DEFENDANTS

             1.     Defendant Secretary.
      32.    Defendant BRIAN P. KEMP is sued for prospective declaratory and

injunctive relief in his official capacities as the Secretary of State of Georgia and as

Chairperson of the State Election Board when this action was initially filed in

Fulton County Superior Court on July 3, 2017. Together with any successors in

office automatically substituted for him as a Defendant by operation of Fed. R.




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Civ. P. 25(d), Defendant KEMP is hereinafter referred to as “Kemp” or the

“Secretary.”

      33.    In his official and individual capacity, the Secretary is responsible for

the orderly and accurate administration of Georgia’s electoral processes. The

Secretary’s legal duties, among others, include the following: (i) to approve or

discontinue the use of Georgia’s voting systems and to conduct any reexamination

of Georgia’s voting systems, upon request or at his own discretion, O.C.G.A.

§§ 21–2–379.2(a), –379.2(b), –368(a), –368(b); (ii) to develop, program, build, and

review ballots for use by counties and municipalities on direct recording electronic

(DRE) voting systems in use in the State, O.C.G.A. § 21-2-50(a)(15); and (iii) to

serve as Chair of the State Election Board. O.C.G.A. § 21-2-30(d).

      34.    The Secretary is also required by law to determine the voting

equipment that is to be used to cast and count the votes in all county, state, and

federal elections in Georgia and to provide the same type of equipment to all

counties in the State on behalf of the State of Georgia. O.C.G.A. § 21-2-300.

             2.     Defendant State Board Members.

      35.    Together with the Secretary, Defendants DAVID J. WORLEY,

REBECCA N. SULLIVAN, RALPH F. “RUSTY” SIMPSON, and SETH HARP,

are sued for prospective declaratory and injunctive relief in their official capacities



                                           15
as members of Georgia’s State Election Board (the “State Board”) when this

action was initially filed in Fulton County Superior Court on July 3, 2017.

Together with any successors in office automatically substituted for any of them as

Defendants by operation of Fed. R. Civ. P. 25(d), these Defendants are hereinafter

collectively referred to as the “State Board Members.”

      36.    Acting through the State Board, the State Board Members collectively

are to discharge the following duties of the State Board, among others: (1) to

promulgate rules and regulations to obtain uniformity in election practices, as well

as the legality and purity of all primaries and elections, O.C.G.A. § 21-2-31(1); (2)

to formulate, adopt, and promulgate such rules and regulations, consistent with

law, as will be conducive to the fair, legal, and orderly conduct of primaries and

elections, O.C.G.A. § 21-2-31(2); (3) to investigate the administration of primary

and election laws and frauds and irregularities in elections and to report election

law violations to the Attorney General or appropriate district attorney, O.C.G.A.

§ 21-2-31(5); and (4) to promulgate rules and regulations to define uniform and

nondiscriminatory standards concerning what constitutes a vote and what will be

counted as a vote for each category of voting system used in Georgia, O.C.G.A.

§ 21-2-31(7).




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      37.    Acting through the State Board, the State Board Members collectively

exercise the power vested in the State Board to enforce compliance with the

Georgia Election Code and with the State Board’s regulations. See O.C.G.A. §§

21-2-33.1, -32.

             3.    Defendants Fulton Board Members.

      38.    Defendants MARY CAROLE COONEY, VERNETTA NURIDDIN,

DAVID J. BURGE, STAN MATARAZZO, and AARON JOHNSON, are sued for

prospective declaratory and injunctive relief in their official capacities as members

of the Fulton County Board of Registration and Elections (the “Fulton Board”)

when this action was initially filed in Fulton County Superior Court on July 3,

2017. Together with any successors in office automatically substituted for any of

them as Defendants by operation of Fed. R. Civ. P. 25(d), these Defendants are

hereinafter collectively referred to as the “Fulton Board Members.”

      39.    The Fulton Board was created by a local Act of the General

Assembly. Georgia Law, 1989, Act 250. The Fulton Board has the authority to

exercise the powers and duties of a county election superintendent with respect to

conducting elections in Fulton County, see O.C.G.A. § 21–2–70 to –77. Duties of a

county election superintendent include, among others, the following: (i) “To select

and equip polling places for use in primaries and elections in accordance with [the



                                          17
Georgia Election Code],” O.C.G.A. § 21–2–70(4); (ii) “To make and issue such

rules, regulations, and instructions, consistent with law, including the rules and

regulations promulgated by the State Election Board, as he or she may deem

necessary for the guidance of poll officers, custodians, and electors in primaries

and elections,” O.C.G.A. § 21–2–70(7); (iii) “To conduct all elections in such

manner as to guarantee the secrecy of the ballot and to perform such other duties as

may be prescribed by law,” O.C.G.A. § 21–2–70(13); and (iv) to determine

whether to use paper ballots when the use of voting machines is not practicable,

O.C.G.A. § 21–2–334.

             4.     All Other Previously Named Defendants Are Now
                    Dismissed Without Prejudice.
       40.   With effect as of the date of this Court’s Order granting Coalition’s

motion for leave to file this Third Amended Complaint as its operative complaint,

Plaintiff Coalition voluntarily dismissed without prejudice its claims against any

other Defendants previously named in this action.

III.   JURISDICTION AND VENUE

       41.   This action was initially filed in Fulton County Superior Court on

July 3, 2017. (ECF No. 1-2, at 7–9, ¶ 12, 15, 17.)

       42.   The Secretary was served with the state-court Complaint on August 3,

2017. (ECF No. 1, at 4, ¶ 5.)


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      43.    On August 8, 2017, the Secretary and other Defendants removed this

action to this Court pursuant to 28 U.S.C. § 1441 and § 1446. (ECF No. 1.)

      44.    This Court has subject-matter jurisdiction over each of the claims

raised in this action pursuant to 28 U.S.C. § 1331 (federal question jurisdiction),

§ 1343 (jurisdiction over civil rights actions), § 1367 (supplemental jurisdiction),

§ 2201 (jurisdiction to grant declaratory relief) and § 2202 (jurisdiction to grant

relief ancillary to declaratory judgment).

      45.    Venue lies in the Northern District of Georgia pursuant to

28 U.S.C. § 1391(b) because multiple defendants reside in this judicial district and

all defendants are residents of Georgia and a substantial part of the events or

omissions giving rise to the Plaintiffs’ claims occurred in this judicial district.

IV.   LEGAL FRAMEWORK

      A.     The United States Constitution
      46.    The United States Constitution provides: “The times, places and

manner of holding elections for Senators and Representatives, shall be prescribed

in each state by the legislature thereof….” U.S. Const. Art. I, § 4, cl. 1.




                                             19
      B.     The Georgia Constitution

      47.    The Georgia Constitution provides: “Elections by the people shall be

by secret ballot and shall be conducted in accordance with procedures provided by

law.” Ga. Const. Art. II, § 1, ¶ 1.

      C.     The Georgia Election Code

      48.    The Georgia Election Code (the “Code”) provides, in pertinent part:

“All primaries and elections in this state shall be conducted by ballot, except when

voting machines are used as provided by law. A ballot may be electronic or printed

on paper.” O.C.G.A. § 21–2–280.

      49.    The Code requires that uniform voting equipment “shall be provided

to each county by the state, as determined by the Secretary of State.” See

O.C.G.A. § 21–2–300.

      50.    Specifically, the Code requires the Secretary to furnish “a uniform

system of direct recording electronic (DRE) equipment” to each county. O.C.G.A.

§ 21–2–379.3, and authorizes the use of DRE equipment under required conditions

in numerous provisions of Title 21, Chapter 2, Article 9, Part 5.




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      51.    The Code establishes the following requirements for DREs in addition

to other minimum operating standards:

             No direct recording electronic voting system shall be
             adopted or used unless it shall, at the time, satisfy the
             following requirements:

             ….

             (6) It shall permit voting in absolute secrecy so that no
             person can see or know for whom any other elector has
             voted or is voting, save an elector whom he or she has
             assisted or is assisting in voting, as prescribed by law;

             ….

             (8) It shall, when properly operated, record correctly and
             accurately every vote cast;

O.C.G.A. § 21–2–379.1.

      52.    The Code requires that, “All direct recording electronic (DRE) units

and related equipment, when not in use, shall be properly stored and secured under

conditions as shall be specified by the Secretary of State.” O.C.G.A. § 21–2–

379.9(a).

      53.    The Code requires county election superintendents who conduct

elections using DREs to do the following:

             •     “examine each unit before it is sent to a polling place, verify

that each registering mechanism is set at zero, and properly secure each unit so that



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the counting machinery cannot be operated until later authorized,” O.C.G.A. § 21-

2-379.6(a);

              •     three days before every election, “have each DRE unit tested to

ascertain that it will correctly count the votes cast for all offices and on all

questions,” O.C.G.A. § 21-2-379.6(c);

              •     “require that each DRE unit be thoroughly tested … prior to the

delivery of each DRE unit to the polling place,” O.C.G.A. § 21-2-379.7(b);

              •     “[p]rior to opening the polls each day[,] … certify that each unit

is operating properly and is set to zero….” O.C.G.A. § 21-2-379.7(b);

              •     “[e]nsure that each DRE unit’s tabulating mechanism is secure

throughout the day during the primary or election,” O.C.G.A. § 21-2-379.7(d)(3);

              •     use only DREs that “permit voting in absolute secrecy so that

no person can see or know how any other elector has voted or is voting,” O.C.G.A.

§ 21–2–379.1(6), and “conduct all elections in such manner as to guarantee the

secrecy of the ballot,” O.C.G.A. § 21–2–70(13); and

              •     “make and issue such rules, regulations, and instructions,

consistent with law, including the rules and regulations promulgated by the State

Election Board, as he or she may deem necessary for the guidance of poll officers,

custodians, and electors in primaries and elections[,]” O.C.G.A. § 21–2–70(7);


                                            22
             •     “perform their duties in public,” O.C.G.A. § 21–2–406; and

             •     comply with the legal requirement that “all proceedings at the

tabulating center and precincts shall be open to the view of the public,” O.C.G.A.

§ 21–2–379.11.

      54.    The Code authorizes the use of paper ballots for use in “any primary

or election in which the use of voting equipment is impossible or impracticable, for

the reasons set out in [§] 21–2–334….”, O.C.G.A. § 21–2–281—i.e., when the use

of voting machines is required but “is not possible or practicable” or “if, for any

other reason, at any primary or election the use of voting machines wholly or in

part is not practicable,” O.C.G.A. § 21–2–334.

      55.    The Code defines electors who do not vote in person at the polls on

Election Day to vote as “absentee electors.” O.C.G.A. § 21–2–380(a).

      56.    The Code permits absentee electors who do not vote in person to use a

paper absentee ballot that is mailed in or hand delivered, see O.C.G.A. § 21–2–

385, and generally counted by optical scan equipment, but the Code requires

absentee electors who vote in the advance voting period who vote in person to vote

by DRE if DRE machines are used in the polling places on election day, see

O.C.G.A. § 21–2–383(b).




                                          23
      57.   The Code authorizes the use of paper ballots counted by optical

scanning equipment and sets forth requirements for their approval and operation.

See O.C.G.A Title 21, Chapter 2, Article 9, Part 4.

      D.    Georgia’s Regulation of Elections
      58.   The State Board’s rules implementing the Code require that all voters

who cast ballots in person at the polls on Election Day must vote by DRE:

            Rule 183-1-12-.01 Conduct of Elections: Beginning with
            the November 2002 General Election, all federal, state,
            and county general primaries and elections, special
            primaries and elections, and referendums in the State of
            Georgia shall be conducted at the polls through the use
            of direct recording electronic (DRE) voting units
            supplied by the Secretary of State or purchased by the
            counties with the authorization of the Secretary of State.
            In addition, absentee balloting shall be conducted through
            the use of optical scan ballots which shall be tabulated on
            optical scan vote tabulation systems furnished by the
            Secretary of State or purchased by the counties with the
            authorization of the Secretary of State; provided, however,
            that the use of direct recording electronic (DRE) voting
            units is authorized by the Secretary of State for persons
            desiring to vote by absentee ballot in person.

Ga. Comp. R. & Regs. r. 183–1–12–.01 (emphasis added).




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V.     GENERAL ALLEGATIONS

       A.     How Georgia’s Voting System Works.

       59.    The voting system configuration most recently provided to Georgia’s

counties by the Secretary consists of the following configuration of hardware

components and related firmware and software:

       •      Diebold Election Systems (“Diebold”)5 AccuVote DRE touchscreen
              voting units (“AccuVote DREs”):
              o     R6 TS model, with BallotStation version 4.5.2! firmware.
              o     TSx model, with BallotStation version 4.5.2! firmware.

       •      Diebold optical scanners for tabulating paper ballots.

       •      Electronic Poll Books with barcode scanner to scan identification.

       •      Diebold General Election Management Software (“GEMS”) for
              tabulation and reporting of data generated by AccuVote DRE and
              Diebold optical scanners.

(such configuration, “Georgia’s Voting System”).

       60.    On information and belief, Georgia uses approximately 27,000

Diebold AccuVote DRE touchscreen voting machines. These AccuVote DREs are

located at polling locations during elections, where they are used by electors who

vote absentee ballots in person during early voting as authorized by O.C.G.A.

§ 21–2–385(d) and by electors who vote in person on Election Day at the polls in


5
  Diebold Election Systems changed its name to Premier Election Solutions in 2007. Diebold’s
election system business was subsequently acquired by Dominion Voting Systems.

                                              25
their home precincts. In Fulton County, TSx units are used as an intermediate

device for electronic transmission of ballot data collected on TS units to the county

GEMS server.

       61.    The use of AccuVote DREs makes Georgia’s elections unverifiable,

unauditable, and vulnerable to undetectable manipulation. AccuVote DREs create

no verifiable record of voter intent, unlike optical scanner components that rely on

a voter-marked paper ballot as a verifiable official record.

       62.    Each AccuVote DRE internally contains much of the same hardware

that might typically be found in a very low-end general-purpose personal desktop

computer in use in the early 2000s.

       63.    Georgia’s AccuVote DREs run a Diebold-modified version of

Microsoft’s Windows CE version 4.1 operating system—which Microsoft stopped

supporting in early January 2013. As a consequence, Microsoft is no longer

issuing updates or security patches for that software.6

       64.    A proprietary Diebold software application called BallotStation runs

on top of the Windows operating system on AccuVote DREs and provides the user

interface that voters and poll workers see. BallotStation interacts with the voter,



6
 See Wikipedia, Windows Embedded Compact,
https://en.wikipedia.org/wiki/Windows_Embedded_Compact (last visited Feb. 12, 2018).

                                            26
accepts and records votes, counts the votes recorded on the DRE, and performs all

other election-related processing by the DRE.

        65.   AccuVote DREs are conﬁgured for each election by inserting a

memory card into a slot behind a locked door on the side of the machine.

        66.   Before the election, the ﬁle system on the memory card stores the

election deﬁnition, sound ﬁles, translations for other languages, interpreted code

that is used to print reports, and other conﬁguration information.

        67.   AccuVote DREs use software installed on the unit to display graphical

information to the voter that indicates which part of the touchscreen display

corresponds to particular electoral choices.

        68.   Voters record their preferences by physically touching the part of the

screen that corresponds to voter’s preferred choice.

        69.   When operating properly, AccuVote DREs use software installed on

the unit to translate the voter’s physical act of touching a particular place on the

touchscreen into a vote for the corresponding candidate or issue.

        70.   When operating properly, AccuVote DREs use software installed on

the unit to change what is graphically displayed on the touchscreen to indicate to

the voter that a particular electoral choice has been electronically registered by the

unit.


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      71.      When operating properly, AccuVote DREs use software installed on

the unit to record the voter’s choice on both the DRE’s removable memory card

and into the machine’s internal flash memory. Both such records of the voter’s

choices are unreadable to humans.

      72.      Georgia’s AccuVote DREs do not record a paper or other independent

verifiable record of the voter’s selections.

      73.      Upon the closing of the polls, poll workers cause AccuVote DREs to

interpret collected electronic information and convert it to human readable form to

print a paper tape of vote totals recorded on each machine.

      74.      After the tape of the DREs machine’s vote totals is printed, the

removable DRE memory cards are taken from each of the AccuVote DREs and

secured for transport either to a satellite vote transmission center, in the case of

Fulton County, or to the county election office in other counties.

      75.      On election night, AccuVote DRE memory cards from polling places

are collected and uploaded into the Diebold GEMS server (running on a desktop

computer) where the GEMS software combines DRE vote data with data from

mail-in absentee ballots, and consolidated preliminary results reports are created

and printed.




                                           28
      76.    Mail-in absentee paper ballots and provisional paper ballots are

scanned and tabulated by Diebold AccuVote Optical Scan units, located in the

office of the superintendents of elections.

      77.    The Diebold AccuVote Optical Scan units are programmed with

software to scan, count, tabulate and report the paper ballot vote counts.

      78.    On election night, Diebold AccuVote Optical Scan unit memory cards

are uploaded to the Diebold GEMS server and combined with the data from the

AccuVote DREs to create unofficial consolidated results and generate reports in

human readable form.

      B.     AccuVote DREs Are Insecure and Vulnerable to Malicious
             Hacking.
      79.     Scores of news reports in the last year have amplified the fifteen-plus

years of warnings from voting system computer scientists that paperless balloting

is unreliable, unquestionably insecure, and unverifiable because paperless balloting

cannot be audited.

      80.    In January 2018, the Congressional Task Force on Election Security

formed by House Democratic Leader Nancy Pelosi and others issued a Final




                                          29
Report addressing the insecurity of the voting infrastructure in the United States.

The Final Report warned:

               Given the breadth of security risks facing voting machines,
               it is especially problematic that approximately 20% of
               voters are casting their ballots on machines that do not
               have any paper backup. These voters are using paperless
               Direct Recording Electronic (DRE) machines that have
               been shown over and again to be highly vulnerable to
               attack. Because these machines record votes on the
               internal memory of the machine, and do not leave any
               paper backup, it is near impossible to detect whether
               results have been tampered with.7

       81.       Such alarming findings about the security of DREs are not new. In

2007, California’s then Secretary of State Debra Bowen (“Secretary Bowen”) and

Ohio’s Secretary of State Jennifer Brunner (“Secretary Brunner”) separately

commissioned and published independent research studies that included the entire

Diebold AccuVote voting system.

       82.     Secretary Bowen’s “Top-to-Bottom Review” (“TTBR”) 8 of

California’s voting system produced a detailed scientific review of a Diebold

AccuVote voting system that used newer, upgraded—and thus presumably more



7
  Congressional Task Force of Election Security, Final Report, https://democrats-
homeland.house.gov/sites/democrats.homeland.house.gov/files/documents/TFESReport.pdf
(Feb. 14, 2018), at 24 (last visited Apr. 2, 2018).
8
  See Joseph A. Calandrino, et al., Source Code Review of the Diebold Voting System,
http://votingsystems.cdn.sos.ca.gov/oversight/ttbr/diebold-source-public-jul29.pdf (Jul. 20, 2007)
(last visited Apr. 2, 2018).

                                                30
secure—Diebold voting system components than the AccuVote DREs that are

currently used in Georgia.

       83.    Secretary Brunner’s Evaluation and Validation of Election-Related

Equipment, Standards and Testing (“EVEREST”) 9 initiative likewise examined a

newer version of the AccuVote DREs than Georgia uses.

       84.    The TTBR found that California’s AccuVote DREs were “inadequate

to ensure accuracy and integrity of the election results…”; that the system

contained “serious design flaws that have led directly to specific vulnerabilities,

which attackers could exploit to affect election outcomes…”; and that “attacks

could be carried out in a manner that is not subject to detection by audit, including

review of software logs.”10

       85.    The EVEREST report concluded that Ohio’s voting “system lacks the

technical protections necessary to guarantee a trustworthy election under

operational conditions. Flaws in the system’s design, development, and processes

lead to a broad spectrum of issues that undermine the voting system’s security and




9
  Pennsylvania State Univ., et al., EVEREST: Evaluation and Validation of Election-Related
Equipment, Standards and Testing, https://www.eac.gov/assets/1/28/EVEREST.pdf (Dec. 7,
2007) (last visited Feb. 5, 2018).
10
   See California Secretary of State, Withdrawal Of Approval,
http://votingsystems.cdn.sos.ca.gov/vendors/premier/premier-11824-revision-1209.pdf (Dec. 31,
2009 rev.), at 2, 2, 3 (last visited Apr. 2, 2018).

                                              31
reliability. The resulting vulnerabilities are exploitable by an attacker, often easily

so, under election conditions.” 11

       86.     Citing the failures and vulnerabilities of the Diebold’s AccuVote

voting system identified in the TTBR, Bowen decertified California’s voting

system. 12

       87.     The TTBR and the EVEREST reports are consistent with other

published scientific reviews of AccuVote DREs that concluded the security and

design failures of AccuVote DREs render the units unfit for use in public

elections.13

       88.     The only record of a voter’s selection kept by Georgia’s AccuVote

DREs is the digital record created in the DRE’s computer memory by the

executable software that is installed on the individual DRE voting unit. This

digital record is only as trustworthy as the software that writes the information to

memory.

       89.     As indicated by the TTBR and EVEREST reports, the design of

AccuVote DREs permits unauthorized, surreptitious manipulation of software


11
   See EVEREST, supra note 9, at 103.
12
   See Withdrawal Of Approval, supra note 10, at 5.
13
   See, e.g.,Candice Hoke, Judicial Protection of Popular Sovereignty: Redressing Voting
Technology, 62 Cas. W. Res. L. Rev. 997 (2012), available at,
http://scholarlycommons.law.case.edu/caselrev/vol62/iss4/6 (last visited Apr. 4, 2018).

                                               32
installed on individual machines that causes the AccuVote DREs to record and

report false votes and that is, for all practical purposes, undetectable by election

officials.

       90.   As indicated by the TTBR and EVEREST reports, the results

produced by an AccuVote DRE are not reliable because the machine’s software,

which is responsible for correctly recording voter choices, is subject to

undetectable manipulation.

       91.   As indicated by the TTBR and EVEREST reports, the results

produced by an AccuVote DRE are not trustworthy because the unreliable software

is likewise responsible for reading the DRE unit’s memory and reporting the

recorded results.

       C.    AccuVote DREs Fail to Provide Absolute Secrecy of the Ballot.

       92.   Georgia’s AccuVote DREs record votes in the order in which they are

cast and otherwise associate each electronic ballot with a unique serial number and

timestamp that can be used to determine the ballot’s position in the chronology of

votes cast on the machine. These design flaws render the electronic ballots cast on

AccuVote DREs capable of being matched to voter records maintained by

pollworkers and pollwatchers, or to polling place security video, or to ExpressPoll

book timestamps, each of which makes it possible to connect many voters with



                                           33
their DRE ballots in violation of Georgia’s state constitutional requirements of

absolute secrecy of the ballot.

      D.     Security Breaches at KSU and CES Have Further Compromised
             Georgia’s Voting System.

      93.    From at least 2002 until at least December 31, 2017, Secretary Kemp

contracted with the Board of Regents of the University System of Georgia and

through Kennesaw State University (“KSU”), a unit of the University System of

Georgia, for the creation of the Center for Election Services (“CES”) at KSU to

assist the Secretary in the fulfillment of his statutory duties to manage Georgia’s

election system.

      94.    Acting under contract as Kemp’s agents, KSU, CES and CES’s

Executive Director Merle King (“King”) maintained a computer server with the

URL “elections.kennesaw.edu,” on which they hosted an enormous assemblage of

electronic files consisting of software applications, password files, encryption

keys, voter information registration information, technical training videos, and

other sensitive information critical to the safe and secure operation of Georgia’s

Voting System.

      95.    The information hosted on the “elections.kennesaw.edu” server was

not authorized to be publicly accessible. But between at least August 2016 and




                                          34
March 2017, and likely for a much longer period of time, this server was fully

accessible to any computer user with Internet access.

      96.    The “elections.kennesaw.edu” server was in fact accessed from the

public Internet by an unknown number of unauthorized individuals, including

cybersecurity researcher Logan Lamb (“Lamb”), his colleague Chris Grayson

(“Grayson”), and KSU’s own computer science instructor Andy Green (“Green”).

      97.    In late August 2016, Lamb freely accessed files hosted on the

“elections.kennesaw.edu” server, including the voter histories and personal

information of all Georgia voters, tabulation and memory card programming

databases for past and future elections, instructions and passwords for voting

equipment administration, and executable programs controlling essential election

resources. When he accessed these sensitive files, Lamb noted that the files had

been publicly exposed for so long that Google had cached (i.e., saved digital

backup copies of) and published the pages containing many of them.

      98.    Lamb immediately recognized that these files were a high-value target

for malicious users who might want to manipulate Georgia’s elections, not only in

the November 2016 general election, but future elections as well, because he knew

that the files created and maintained on this server were used to program virtually

all other voting and tabulation equipment used in Georgia’s elections.


                                         35
      99.    As a computer scientist and security researcher, Lamb knew that

introducing malware into key files hosted on the “elections.kennesaw.edu” server

could permit a malicious user to infect Georgia’s Voting System with a computer

virus that could be designed to travel across jurisdictions and equipment and

potentially alter or control the results in multiple future elections with very little

risk of detection.

      100. On or about August 28, 2016, Lamb promptly contacted King by

telephone and email to warn him that CES should assume that the sensitive

documents hosted on the “elections.kennesaw.edu” server had already been

downloaded by unauthorized persons. King responded by assuring Lamb that the

security issue would be addressed, but King simultaneously warned Lamb to keep

his discovery of the server’s vulnerabilities to himself or else, King warned, Lamb

would be “crushed” by the politicians “downtown.”

      101. King immediately informed CES staff of the breach, and KSU IT

management was asked for advice and assistance on or about August 29, 2016.

Public records demonstrate that in early September 2016, in a series of internal

email communications, KSU’s information technology staff member William

Moore informed CES staffers Michael Barnes and Steven Dean and Information

Technology professionals of KSU Tyler Hayden, Jason Figueroa, Matthew Sims,


                                            36
and Chris Gaddis that the State’s primary voting systems server had “exploitable,”

“severe,” and “critical” vulnerabilities, and Stephen Gay, KSU’s Chief Information

Security Officer, ordered security scans of the CES server.

       102. In October 2016, in a series of internal email communications sent

between William Moore, King, Michael Barnes, Steve Dean, Stephen Gay, Chris

Gaddis, Jason Figueroa, KSU’s information technology staff described the

“elections.kennesaw.edu” server as having “40+ critical vulnerabilities.”

       103. Despite these internal communications within KSU, and despite

King’s commitment to Lamb to ensure that the software, data, and the

“elections.kennesaw.edu” server would be secured, neither Secretary Kemp nor his

agents KSU, CES, and King secured the server, which remained easily accessible

from the public Internet.

       104. Lamb and colleague Grayson accessed the server again several times

in late February 2017 and on March 1, 2017, and they were repeatedly able to

access and download the same types of files that Lamb had accessed months

earlier.

       105. On March 1, 2017, Grayson contacted KSU Computer Science

Instructor Green and informed him of the exact times and IP addresses of his own

recent repeated access of the unsecured voting system server.


                                         37
      106. Green replicated Lamb and Grayson’s access to the server and its

sensitive files and then contacted Stephen Gay, who finally caused the elections

server to be isolated from the public Internet on or about March 1, 2017.

      107. It is widely and generally known from public media reporting both

prior to and since the 2016 presidential election that foreign governments and other

unknown suspect parties have actively probed state election systems in attempts to

gain unauthorized access and manipulate the voter information and computer

systems used to conduct American elections.

      108. Public reports have documented that these efforts targeting American

voting systems have included unauthorized intrusions into the very same kind of

computer systems and files that Lamb, Grayson, and Green found to be completely

unprotected from external access in Georgia for at least seven consecutive months

from August 2016 through February 2017.

VI.   SPECIFIC ALLEGATIONS
      A.     Conduct of All Defendants—Past and Threatened

      109. All Defendants, at all times material to this Complaint, knew that

AccuVote DREs did not and cannot meet Georgia’s statutory and regulatory

requirements for certification, safety, security, and accuracy equipment as provided

in Title 2 Chapter 21Article 9 Part 5.



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       110. All Defendants, at all times material to this complaint, knew that

software applications, password files, encryption keys, voter information

registration information, and other sensitive information critical to the safe and

secure operation of Georgia’s Voting System had been unsecured, breached, and

compromised; could not be presumed to be uncorrupted and should instead have

been presumed to be compromised; and that Georgia’s Voting System is materially

noncompliant with applicable Election Code statutes and governing regulations as

a result.

       111. From at least August 2016 until the present, the Secretary and his

agents—and from at least March 2017 all Defendants—knew or should have

known that the software, data, and voter information hosted on the

“elections.kennesaw.edu” server at KSU had been repeatedly compromised by

unauthorized access.

       112.   All Defendants have known at all times material to this Complaint

that no efforts have been made to remediate the compromised software programs

and machines or to identify and remove any malware that was likely introduced

during the lengthy security breaches referred to herein on the

“elections.kennesaw.edu” server that hosted the election-specific software

applications and data that are re-installed on every piece of voting and tabulation


                                          39
equipment used to conduct Georgia’s elections in advance of each election

conducted using Georgia’s Voting System.

       113. All Defendants, at all times material to this Complaint, knew or

should have known of numerous expert opinions and academic research

identifying security vulnerabilities in AccuVote DREs and advising against the use

of AccuVote DREs in public elections because of their demonstrable lack of

safety, reliability, and trustworthiness.

       114. All Defendants, at all times material to this complaint, knew or should

have known that they were incapable of confirming the integrity of the software on

AccuVote DREs and incapable of certifying that election results produced by

AccuVote DREs were correct, given that malicious manipulations are generally

undetectable, in part because of the inferior engineering of the system.

       115. By choosing to move forward in using the AccuVote DREs to conduct

the November 2016 general election, the April and June 2017 Congressional

District 6 (“CD6”) Special Election Runoff and Special Election, and other

elections from November 2016 to the present (the “Relevant Past Elections”), all

Defendants caused Georgia voters to cast votes on an illegal and unreliable system

that must be presumed to be compromised and that is incapable of producing

verifiable results.


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       116. By choosing to continue using the non-compliant system in the

Relevant Upcoming Elections without taking any meaningful steps to remedy

known security breaches affecting AccuVote DREs, all Defendants know that they

will cause, and intend to cause, Georgia voters to cast votes in the Relevant

Upcoming Elections on an illegal and unreliable voting system that must be

presumed to be compromised and that is incapable of producing verifiable results.

       B.     Conduct of Defendant Secretary—Past and Threatened
       117. KSU, CES, and King were actual and apparent agents of the

Secretary, contracted and supervised by him for a purpose of providing, among

other things, “technical support and training of State election officials in the use of

the Statewide uniform electronic voting system[;]” “acceptance testing for the

fiscal year 2018 of the GEMS software and server, [Georgia’s AccuVote DREs],

and the electronic poll book/encoders[;]” and “ballot building election related

activities for counties and municipalities in the State of Georgia.” 14

       118. At all times material to this Complaint, KSU, CES, and King were

acting further to their contractual arrangement with the Secretary, within the scope

of their actual and apparent agency, and for the purpose of serving the Secretary.



14
  See Agreement Between the Secretary of State and The Board of Regents of the University
System of Georgia, at 2 (July 13, 2017).

                                             41
      119. In their capacity as agents for the Secretary, KSU, CES, and King

maintained software applications, password files, encryption keys, voter

information registration information, ballot building files, tabulation databases, and

other sensitive and essential information critical to the safe and secure operation of

Georgia’s Voting System on the “elections.kennesaw.edu” server.

      120. After it became known that the “elections.kennesaw.edu” server was

compromised, none of the Secretary and his agents KSU, CES, and King

subsequently made adequate efforts to determine whether malicious hacking of

software, data, and voter information hosted on the “elections.kennesaw.edu”

server and used in Georgia’s Voting System occurred during the at least seven-

months-long exposure of the “elections.kennesaw.edu” server content on the public

Internet.

      121.    Neither the Secretary nor any of his agents, KSU, CES, and King, has

ever properly verified the integrity of, or repaired or replaced, any of the

potentially compromised software, passwords, and encryption keys that were

hosted on the “elections.kennesaw.edu” server. As a consequence, the software,

passwords, and encryption keys that were presumably compromised all continue to

be used on the equipment that will be employed to conduct Georgia’s public

elections.


                                           42
      122. On July 7, 2017, after this action was initially filed in Fulton County

Superior Court on July 3, 2017, KSU, CES, and King, acting as agents of the

Secretary, destroyed all data on the hard drives of the KSU

“elections.kennesaw.edu” server.

      123. On August 9, 2017, less than 24 hours after this action was removed

from Fulton County Superior Court to this Court , KSU, CES, and King, acting as

agents of the Secretary, destroyed all data on the hard drives of a secondary server

hosted at “unicoi.kennesaw.edu”, which contained similar, but not identical data, to

that on the “elections.kennesaw.edu” server.

      124. On information and belief, the logfiles that contained historical

records of external access from the public Internet to the “elections.kennesaw.edu”

and “unicoi.kennesaw.edu” servers were deleted when all data on the respective

servers’ hard drives was destroyed.

      125. The Secretary intends to enforce and will enforce O.C.G.A. § 21–2–

383(b) in the Relevant Upcoming Elections in all Georgia counties, and thus will

require absentee electors who vote during the advance voting period in person to

vote by DRE.

      126. The Secretary intends to enforce and will enforce State Election Board

Rule 183–1–12–.01 in the Relevant Upcoming Elections in all Georgia counties,


                                         43
and thus to require that all voters who cast ballots in person at the polls on Election

Day must vote by DRE.

      C.     Conduct of Defendant State Board Members—Threatened

      127. The State Board Members, acting in their official capacity through the

State Board, intend to enforce and will enforce O.C.G.A. § 21–2–383(b) in the

Relevant Upcoming Elections in all Georgia counties, and thus to require absentee

electors who vote during the advance voting period in person to vote by DRE.

      128. The State Board Members, acting in their official capacity through the

State Board, intend to enforce and will enforce State Election Board Rule 183–1–

12–.01 in the Relevant Upcoming Elections in all Georgia counties, and thus to

require that all voters who cast ballots in person at the polls on Election Day must

vote by DRE.

      D.     Conduct of Defendant Fulton Board Members—Past and
             Threatened.

      129. At all times material to this Complaint, Richard Barron (“Barron”)

was employed as the staff Director of Registration & Elections for Fulton County,

in which capacity he was an actual and apparent agent of the Fulton Board and its

official members, the Fulton Board Members, and was contracted and supervised

by them.




                                          44
      130. At all times material to this Complaint, Barron acted within the scope

of his agency for a purpose of serving the Fulton Board Members and the Fulton

Board.

      131. On April 18, 2017, Barron and the Fulton Board Members deprived

numerous Fulton County voters, including Coalition member Brian Blosser, of the

right to cast a ballot in the CD6 Special Election.

      132. On April 22, 2017, at a Fulton Board meeting, Barron blamed the

disfranchisement of CD6 voters such as Blosser on a software “glitch” of unknown

origin that erroneously caused eligible voters to appear to be voters in other

congressional districts or unregistered.

      133. On November 7, 2017, and December 5, 2017, Barron and the Fulton

Board Members aggressively blocked and prevented visual observation by

Coalition’s members and representatives of the Fulton Board’s performance of the

following election duties:

             a.     North Fulton Annex polling place. At the close of the polls

                    on November 7 and December 5, at the North Fulton Annex

                    polling place, Barron instructed polling place managers to

                    refuse to permit Coalition Executive Director Marilyn Marks

                    (“Marks”) and other members of the public to observe polling


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     place close-down procedures, vote tabulation and printing of

     DRE machines’ election results. Fulton Board Members’

     agents and employees refused to permit Coalition’s election

     observers within approximately 50 feet of the DRE machines

     and process on November 7 and refused to permit them and

     other members of the public into the polling place at all on

     December 5. The Fulton Board Members’ agents and

     employees threatened Marks and others with arrest on both

     occasions, and some members of the public were forcefully

     escorted from the premises by law enforcement on Barron’s

     instructions. Marks and others filed formal complaints with the

     Fulton Board which remain unanswered.

b.   North Fulton Annex satellite location. On November 7 and

     December 5, at the North Fulton Annex satellite location,

     Barron instructed officials not to permit Marks, Missett, and

     others to observe the implementation of chain of custody

     procedures or the handling of the memory cards and provisional

     ballots received from Fulton County precincts before

     tabulation. Marks, Missett, and other members were prevented


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     from observing the uploading and electronic transmission of

     AccuVote DRE memory cards and from entering or seeing into

     the room in which this important process was occurring behind

     closed doors.

c.   English Street Warehouse. On November 7 and December 5,

     at the Board’s English Street Warehouse, Barron instructed

     officials not to permit Marks, Missett, and others to observe the

     public meeting of the Fulton Board Members at which central

     tabulation of election results was conducted. On November 7,

     security guards, operating at Barron’s instruction, aggressively

     demanded that Marks and another Coalition representative

     leave the premises of the building where the Board meeting was

     taking place and the vote tabulation was being conducted. On

     Barron’s instruction, the security guards threatened Marks and

     another Coalition representative with physical removal from

     premises, despite their presence being entirely non-disruptive

     and despite the press and other members of the public being

     allowed to attend. On December 5, Barron permitted Marks and

     Missett to remain in the building during tabulation but did not


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                   allow them to come within 50 feet of documents or discussions,

                   which effectively deprived Marks and Missett of the ability to

                   observe.

      134. By preventing public observation of the performance of their duties,

the Fulton Board Members violated their statutory duty to “perform their duties in

public,” O.C.G.A. § 21–2–406, and also violated the statutory requirement that “all

proceedings at the tabulating center and precincts shall be open to the view of the

public,” O.C.G.A. § 21–2–379.11. The Fulton Board Members thereby injured

Coalition and its representatives by depriving them of their corresponding implied

state-created informational rights to observe election officials performing their

duties and to obtain public information. The conduct of local official such as

Barron and the State Board aggravate the injuries to the constitutional rights of

Coalition’s members attributable to Defendants Kemp and the State Board by

preventing any public assessment of the integrity of Georgia’s elections.

      135. With the authorization of Defendants Kemp and the State Board, the

Fulton Board Members intend to continue to prevent the public from observing the

performance these duties in the Relevant Upcoming Elections in Fulton County.

      136. With the authorization of Defendants Kemp and the State Board, the

Fulton Board Members intend to enforce Election Rule 183-1-12-.01 concerning


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election day use of DREs and will thus enforce O.C.G.A. § 21–2–383(b) in the

Relevant Upcoming Elections in Fulton County, requiring absentee electors who

vote in person during the early voting period to vote by AccuVote DRE.

       137. With the authorization of Defendants Kemp and the State Board, the

Fulton Board Members, acting in their official capacities on behalf of the Fulton

Board, intend to enforce and will enforce State Election Board Rule 183–1–12–.01

in the Relevant Upcoming Elections in all Fulton County, and thus to require all

voters who cast ballots in person at the polls on Election Day to vote by AccuVote

DRE.

       138. With the authorization of Defendants Kemp and the State Board, the

Fulton Board Members have adopted voting procedures under which individual

electronic ballots bearing a unique identifier are transmitted from Fulton County’s

AccuVote DREs located in satellite voting centers to Fulton County’s central

GEMS tabulation server in clear text (i.e., unencrypted) over an ordinary,

unsecured telephone line on Election Night. This practice violates fundamental

security principles because it subjects the transmitted votes to manipulation (such

as man-in-the-middle interception and substitution of votes) and exposes the votes

with their unique identifier to third-party interception, violating voters’ rights of

secrecy in voting.


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      E.     Standing of Plaintiff Coalition

      139. Coalition has organizational standing on its own behalf and

associational standing on behalf of Coalition’s individual members to bring each of

the claims for prospective relief stated in this Third Amended Complaint.

             1.    Coalition Has Organizational Standing Derived from Past
                   and Threatened Direct Injuries to Coalition.

      140. Coalition has organizational standing, on its own behalf, to bring each

of the claims for prospective relief stated in this Third Amended Complaint

because Coalition has been and will be directly harmed by having to divert its own

personnel and resources to counteract Defendants’ unconstitutional enforcement of

laws and regulations requiring Georgia voters to use DREs.

      141. Coalition possess a legally cognizable interest in pursuing its

organizational goals without having to divert resources and personnel to counteract

Defendants’ illegal acts.

      142. Defendants’ prior and intended imminent enforcement of O.C.G.A.

§ 21–2–383(b) and State Election Board Rule 183–1–12–.01 have caused and will

cause Coalition to divert resources and personnel to counteract Defendants’ illegal

acts. Specifically, Coalition has been and will be required by Defendants’ past and

intended conduct to do the following:




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             •      Divert Coalition’s scarce organizational funds since April 2017

to pay the fees of lawyers for advice and representation, litigation expenses,

consulting expert expenses, travel expenses for Coalition’s personnel, and research

and copying costs required by Coalition’s efforts to document and resist

Defendants’ enforcement of laws and regulations requiring Coalition’s members to

vote on DREs;

             •      Divert approximately 90% of the time of Coalition’s Executive

Director Marilyn R. Marks since April 2017 to participation in and management of

Coalition’s litigation, educational, and investigative efforts undertaken to

counteract Defendants’ conduct in Georgia—time that the Executive Director

would otherwise have devoted to Coalition’s ongoing efforts including but not

limited to researching and promoting and new post-election Risk Limiting Audit

techniques in Colorado; advocacy of secret ballot and voter privacy principles in

North Carolina seeking a change in state policy; researching security failures in

North Carolina voter registration databases, and advocating for enhanced security;

assisting members in researching South Carolina voting system security failures

and impacts; educating Colorado voters on the negative impacts of new ballot-

selfie laws; assisting Colorado members with organizing plans for a petition for a

special election; publishing educational commentary related to election security


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and transparency issues; educating public and officials on the dangers of internet

voting through publishing and public speaking; assisting in research and planning

for film documentary on election security; training members in Colorado for

canvass board member duties; assisting Georgia members in evaluating ballot

access laws; participating in press interviews regarding election security issues;

speaking to civic groups on election security; assisting Colorado members in

challenging public records violations for ballots in recent county assembly

elections; and assisting members experiencing with problems in accessing public

election records in numerous jurisdictions.

             •     Divert Coalition’s organizational personnel and financial

resources away from Coalition’s established ongoing efforts to conduct research on

new voting systems being used in Tennessee and considered in Georgia and other

States and summarizing and providing that information to Coalition’s members;

and

             •     Divert Coalition’s organizational personnel and financial

resources away from Coalition’s established ongoing efforts to market Coalition to

new members and thereby grow Coalition’s membership.

      143. Defendants’ past and imminent future invasions of Coalition’s legally

protected interests in pursuing its own organizational goals and projects have thus


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caused and will continue to cause concrete and particularized harms to Coalition in

the form of diverted organizational personnel and financial resources.

      144. Coalition has been directly harmed by the conduct of the Fulton Board

Members and their agent Barron, done with the authorization of Defendants Kemp

and the State Board, which deprived Coalition of its informational rights to observe

election officials performing their duties and to obtain public information in

furtherance of Coalition’s mission of educating and informing its membership.

             2.    Coalition Has Associational Standing Derived from Past
                   and Threatened Injuries to Coalition’s Members.
      145. Coalition also has associational standing, on behalf of Coalition’s

individual Georgia members threatened with imminent injury-in-fact, to bring each

of the claims for prospective relief stated in this Third Amended Complaint

because: (1) at least one of Coalition’s members would have standing to sue each

Defendant on each claim in his or her own right; (2) the interests Coalition seeks to

protect are germane to Coalition’s organizational purpose described above; and (3)

the prospective injunctive and declaratory relief requested does not require the

participation of Coalition’s individual members in this lawsuit.

      146. At all times since this case was initially filed in Fulton County

Superior Court on July 3, 2017, Coalition’s membership has included at least one




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eligible elector of the State of Georgia who is a resident in each of Fulton County,

Cherokee County, Cobb County, and DeKalb County.

        147. In each of the Relevant Past Elections, the Secretary and State Board

Members (acting through the State Board) have authorized and required local

official such as Barron, and the Fulton Board Members to enforce and threaten to

enforce O.C.G.A. § 21–2–383(b) and State Election Board Rule 183–1–12–.01.

                     Standing of Coalition’s Individual Members

        148. The following Coalition members, whose standing to sue is a

predicate to Coalition’s associational standing, have standing because each of them

suffered concrete and particularized harms and are now threatened with imminent

additional injury-in-fact as a result of Defendants’ prior and intended future

unconstitutional enforcement of O.C.G.A. § 21–2–383(b) and State Election Board

Rule 183–1–12–.01 and prior and intended deprivations of the right to observe

election officials in the conduct of their duties.

                                      Past Injury

                    a)     Virginia R. Forney (Fulton County)

        149. Virginia R. Forney, (“Forney”) has been a member of Coalition since

2015.




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      150. Forney, an elector of Fulton County, voted in person either during

early voting or on Election Day at the polls in all Relevant Prior Elections,

requiring her to vote on an AccuVote DRE. Forney is a physician by profession,

and multiple patients and others associated with her practice were candidates on

the November 2017 City of Atlanta and Fulton County ballot. Forney’s work

schedule required that she vote early before Election Day in the November 7

election. Aware that a ballot cast by AccuVote DRE was capable of being traced to

her and that the risk was particularly enhanced in an early voting polling location

with low traffic, and also fearing that her practice would suffer if her vote

preferences became known, Forney skipped casting a vote in at least one race to

avoid the risk of personal pecuniary harm.

                    b)    Brian Blosser (Fulton County)

      151. Brian Blosser, (“Blosser”) has been a member of Coalition since

January 2018.

      152. Blosser was prohibited from voting on April 18, 2017, in the CD6

Special Election when his name did not appear on the eligible voter rolls for CD6,

and was instead erroneously listed as a resident of CD11. Blosser was not

permitted to vote a provisional ballot, even after he made repeated attempts to have

Fulton County election officials correct this system error. At a public meeting on



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April 22, 2017, Barron and the Fulton Board Members blamed this error on a

“software glitch.”

                     c)    Megan Missett (Fulton County)

      153. Member Plaintiff Megan Missett, an elector of Fulton County, voted

by DRE in each of the last several elections for which she was eligible, including

most recently, the Fulton County November 2017 election and December 2017

runoff. Missett was deprived of her right to vote in a verifiable, reliable election

conducted in a manner that ensured that her vote would be counted accurately.

Missett was deprived of her right to participate in the public observation of the

December 5, 2017, runoff election in the City of Atlanta and was thereby deprived

of access to public information concerning the election.

                     d)    Mr. and Ms. Digges (Cobb County)
      154. Member Plaintiffs Mr. and Ms. Digges, electors of Cobb County,

voted a mail-in paper absentee ballot in the June 2017 CD6 Special Election

Runoff despite their preferences to vote in their neighborhood precinct on Election

Day. Mr. and Ms. Digges chose to vote by mail-in paper absentee ballot because

they were aware that an electronic ballot cast using an AccuVote DRE was

insecure, not verifiable or re-countable, and incapable of being guaranteed to be a

secret ballot. In order to cast their absentee ballots by mail, Mr. and Ms. Digges



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were required to undergo the inconvenience of requesting paper ballot and the cost

of postage required to mail their ballots. In addition, by choosing to vote by using

a mail-in absentee ballot, Mr. and Ms. Digges became subject to the corresponding

need to place their ballots in the mail well before Election Day to ensure timely

delivery and the ability to confirm timely receipt. Accordingly, Mr. and Ms.

Digges were deprived of the ability to await the latest campaign information before

making their voting decisions and voting as part of their community in their home

precinct along with their neighbors.

                    e)    Mr. Davis (Cherokee County)

      155. Member Plaintiff Ricardo Davis, an elector of Cherokee County,

voted a mail-in paper absentee ballot in all prior elections for over 10 years

(including the November 8, 2016, election), with the exception of Cherokee

County Special Election on November 7, 2017. As an Information Technology

professional, Davis has been keenly aware of the security and reliability

deficiencies of AccuVote DREs and that a vote cast on such voting units cannot be

audited or recounted, and that the secrecy of such a vote cannot be guaranteed. To

avoid these burdens on his right to vote, Davis avoided voting on a DRE, and

instead took steps to cast his votes by mail-in absentee paper ballot. In order to do

so, Mr. Davis was required to undergo the inconveniences of requesting paper



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ballot and the costs of postage necessary to mail his ballot. In addition, because he

chose to vote by means of mail-in absentee paper ballots, Mr. Davis was forced to

place his voted ballots in the mail well before Election Day to ensure their timely

delivery and to give himself the ability to ensure receipt. Accordingly, Mr. Davis

was deprived of the ability to await the latest campaign information before making

his voting decisions and to vote on Election Day along with his community

members in his nearby neighborhood precinct.

      156. In the November 7, 2017, Cherokee County Special Election, Davis

was unable to submit his mail-in ballot application in time, so he was required to

choose between not voting at all and voting by AccuVote DRE.

      157. All of the foregoing Coalition members were injured by being

required to vote in an election conducted using AccuVote DREs, which deprived

them of their right to participate in a trustworthy and verifiable election process

that safely, accurately, and reliably records and counts all votes cast and that

produces a reliable election result capable of being verified as true in a recount or

election contest.

      158. All of the foregoing Coalition members were additionally injured by

being required by Defendants to cast votes on AccuVote DREs—and thereby to




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suffer violations of their constitutional rights—as a condition of being permitted by

Defendants to enjoy the benefits and conveniences of casting a ballot in person.

                              Imminent Future Injury

      159. Each of Coalition’s foregoing members intends to vote in each of the

Relevant Upcoming Elections in his or her respective county.

      160. Each of Coalition’s Georgia members will be required to cast their

votes in the Relevant Upcoming Elections using Georgia’s AccuVote DREs or to

suffer the burdens required to obtain and cast a mail-in absentee ballot as an

alternative.

      161. Each of Coalition’s Georgia members will again be exposed to all the

same injuries they have suffered in the past if Defendants again enforce O.C.G.A.

§ 21–2–383(b) and State Election Board Rule 183–1–12–.01 in the Relevant

Upcoming Elections.

      162. Each of Coalition’s Georgia members voting in the Relevant

Upcoming Elections, if required to vote using an unreliable, untrustworthy

AccuVote DRE, will be irreparably harmed in the following ways:

               •   By suffering burdens and infringements on the fundamental

                   right to vote caused by having to use a voting machine that




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    cannot be relied upon for a trustworthy and verifiable election

    result;

•   By suffering burdens and infringements on the fundamental

    right to vote caused by having to use a voting machine that

    cannot guarantee a secret ballot;

•   By suffering burdens and infringements on the First

    Amendment right to anonymous free speech and association

    caused by having to use a voting machine that cannot guarantee

    a secret ballot;

•   By suffering unequal protection of the state right to a secret

    ballot caused by having to use a voting machine that cannot

    guarantee a secret ballot, while similarly situated absentee

    electors who vote a mail-in ballot in the same election are

    allowed to vote a secret ballot;

•   By suffering the arbitrary and capricious deprivation without

    due process of the state right to a secret ballot caused by having

    to use a voting machine that cannot guarantee a secret ballot;




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             •      By having to endure the foregoing constitutional deprivations

                    as the condition of being allowed to cast a ballot in person at

                    the polls, either during advance voting or on Election Day.

      163. Each of Coalition’s Georgia members voting in the Relevant

Upcoming Elections will be irreparably harmed in the exercise of the fundamental

right to vote if his or her votes are tabulated together with the votes of other voters

who cast their ballots using unreliable, untrustworthy AccuVote DREs.

      164. Each of Coalition’s Georgia members who to cast his or her

individual ballots using AccuVote DREs will be irreparably harmed in the exercise

of their constitutional, fundamental right to vote in the Relevant Upcoming

Elections if they are required to cast their individual ballots using—or in an

election in which anyone used—AccuVote DREs.

      165. Each of the foregoing harms to each of Coalition’s Georgia members

is imminent for standing purposes because each of the Relevant Upcoming

Elections is set to occur on a fixed date not later than eighteen months after the

date when this action was filed in Fulton County Superior Court on July 3, 2017.

      166. None of Coalition’s Georgia members can be adequately compensated

for these harms in an action at law for money damages brought after the fact

because the violation of constitutional rights is an irreparable injury.


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VII. CLAIMS

                COUNT I: FUNDAMENTAL RIGHT TO VOTE

                                  42 U.S.C. § 1983

Threatened Infringement of the Fundamental Right to Vote in Violation of the
     Fourteenth Amendment’s Guarantee of (Substantive) Due Process

 (Right to a trustworthy and verifiable election; Unconstitutional condition)

         (Seeking declaratory and injunctive relief against all Defendants)

      167. Plaintiff Coalition incorporates and realleges each of the foregoing

Paragraphs 1 through 166.

      168. The right of all eligible citizens to vote in public elections is a

fundamental right of individuals that is protected by the United States Constitution

and incorporated against the States by the Due Process Clause of the Fourteenth

Amendment.

      169. Inherent in individuals’ fundamental right to vote is the right to

participate in a trustworthy and verifiable election process that safely, accurately,

and reliably records and counts all votes cast and that produces a reliable election

result capable of being verified as true in a recount or election contest.

      170. By requiring the Member Plaintiffs and other members of Coalition to

vote using AccuVote DREs in the Relevant Upcoming Elections, Defendants

Kemp, the State Board Members, and the Fulton Board Members will knowingly


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burden severely and infringe upon the fundamental right to vote of the Member

Plaintiffs and other members of Coalition and will injure Coalition by causing it to

divert resources and personnel from other ongoing projects.

      171. These severe burdens and infringements that will be caused by

Defendants’ conduct will violate the fundamental right to vote of the Member

Plaintiffs and other members of Coalition.

      172. These severe burdens and infringements that will be caused by

Defendants’ conduct are not outweighed or justified by, and are not necessary to

promote, any substantial or compelling state interest that cannot be accomplished

by other, less restrictive means, like conducting the Relevant Upcoming Elections

using paper ballots.

      173. Requiring voters to suffer these severe burdens and infringements

upon their constitutional right to vote as a condition of being able to enjoy the

benefits and conveniences of being permitted to cast their ballots in person at the

polls violates the unconstitutional-conditions doctrine.

      174. The foregoing violations will occur as a consequence of Defendants

Kemp, the State Board Members, and the Fulton Board Members acting under

color of state law. Accordingly, Coalition and the Member Plaintiffs bring this




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cause of action for prospective equitable relief against Defendants Kemp, the State

Board Members, and the Fulton Board Members pursuant to 42 U.S.C. § 1983.

      175. Unless Defendants Kemp, the State Board Members, and the Fulton

Board Members are enjoined by this Court, then the Coalition Plaintiffs will have

no adequate legal, administrative, or other remedy by which to prevent or

minimize the irreparable, imminent injury that is threatened by Defendants’

intended conduct. Accordingly, injunctive relief against these Defendants is

warranted.

      WHEREFORE, Plaintiff respectfully requests that this Court preliminarily

and permanently enjoin Defendants Kemp, the State Board Members, and the

Fulton Board Members from enforcing O.C.G.A. § 21–2–383(b) and State Election

Board Rule 183–1–12–.01; and from requiring voters to vote using DREs; and

grant such other relief as may be warranted.




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                      COUNT II: EQUAL PROTECTION

                                  42 U.S.C. § 1983

   Threatened Infringement of the Fourteenth Amendment’s Guarantee of
                            Equal Protection

(fundamental right to vote, the right to freedom of speech and association, and
   the Georgia state constitutional right to a secret ballot; unconstitutional
                                   condition)

         (Seeking declaratory and injunctive relief against all Defendants)

      176. Plaintiff Coalition incorporates and realleges each of the foregoing

Paragraphs 1 through 166.

      177. By requiring the Member Plaintiffs and other members of Coalition to

vote using AccuVote DREs in the Relevant Upcoming Elections, Defendants

Kemp, the State Board Members, and the Fulton Board Members will knowingly

treat the Member Plaintiffs and other members of Coalition who vote by DRE

differently than other, similarly situated electors in the same election who vote

using mail-in paper ballots.

      178. Because of this differential treatment, Member Plaintiffs and other

members of Coalition who vote by DRE will suffer greater and more severe

burdens and infringements on their underlying substantive rights—namely, the

fundamental right to vote, the right to freedom of speech and association, and the




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Georgia state constitutional right to a secret ballot—than will other, similarly

situated electors.

      179. These severe burdens and infringements that Defendants will impose

unequally on Member Plaintiffs and other members of Coalition who vote by DRE

will violate the Equal Protection Clause of the Fourteenth Amendment.

      180. These severe burdens and infringements that will be caused by

Defendants’ conduct are not outweighed or justified by, and are not necessary to

promote, any substantial or compelling state interest that cannot be accomplished

by other, less restrictive means, like conducting the Relevant Upcoming Elections

using paper ballots.

      181. Requiring voters to be deprived of their constitutional right to equal

protection of the laws as a condition of being able to enjoy the benefits and

conveniences of voting in person at the polls violates the unconstitutional-

conditions doctrine.

      182. The foregoing violations will occur as a consequence of Defendants

Kemp, the State Board Members, and the Fulton Board Members acting under

color of state law. Accordingly, Coalition and the Member Plaintiffs bring this

cause of action for prospective equitable relief against Defendants Kemp, the State

Board Members, and the Fulton Board Members pursuant to 42 U.S.C. § 1983.


                                          66
      183. Unless Defendants Kemp, the State Board Members, and the Fulton

Board Members are enjoined by this Court, then the Coalition Plaintiffs will have

no adequate legal, administrative, or other remedy by which to prevent or

minimize the irreparable, imminent injury that is threatened by Defendants’

intended conduct. Accordingly, injunctive relief against these Defendants is

warranted.

      WHEREFORE, Plaintiff respectfully requests that this Court preliminarily

and permanently enjoin Defendants Kemp, the State Board Members, and the

Fulton Board Members from enforcing O.C.G.A. § 21–2–383(b) and State Election

Board Rule 183–1–12–.01; and from requiring voters to vote using DREs; and

grant such other relief as may be warranted.

                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court:

      A.     Enter a judgment finding and declaring it unconstitutional for any

public election to be conducted using any model of DRE voting unit;

      B.     Enter a preliminary and permanent injunction prohibiting Defendants

Kemp, the State Board Members, and the Fulton Board Members from enforcing

O.C.G.A. § 21–2–383(b) and State Election Board Rule 183–1–12–.01 and from

requiring voters to vote using DREs;



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      C.      Enter a preliminary and permanent injunction prohibiting Defendants

Kemp, the State Board Members, and the Fulton Board Members from conducting

or authorizing the conduct of any public election using optical scanned paper

ballots without requiring the conduct in each case of post-election audits of paper

ballots to verify the results reported by the tabulation machines;

      D.      Enter a preliminary and permanent injunction prohibiting Defendants

Kemp, the State Board Members, and the Fulton Board Members from conducting

or authorizing the conduct of any public election without requiring subordinate

election officials to permit, meaningful public observation of all stages of election

processing;

      E.      Retain jurisdiction to ensure all Defendants’ ongoing compliance with

the foregoing Orders.

      F.      Grant Plaintiff an award of its reasonable attorney’s fees, costs, and

expenses incurred in this action pursuant to 42 U.S.C. § 1988; and

      G.      Grant Plaintiff such other relief as the Court deems just and proper.

Dated: April 4, 2018.

                                        Respectfully submitted,

                                        /s/ Robert A. McGuire, III
                                        Robert A. McGuire, III
                                        Admitted Pro Hac Vice (ECF No. 125)


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